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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA

In Re:                                                                BKY No.: 19-30675
                                                                        Chapter 11 Case
BV Restaurant, Inc.
DBA Cheng Heng Restaurant,
Debtor.
_______________________________________________________________________
             NOTICE OF EXPEDITED HEARING AND MOTION FOR
                   APPROVAL TO PAY PRE-PETITION WAGES
TO: THE UNITED STATES TRUSTEE, AND OTHER PARTIES IN INTEREST AS
     SPECIFIED IN LOCAL RULE 9013.3.


         1.   BV Restaurant, Inc. DBA Cheng Heng Restaurant (hereinafter “Debtor”), the

Debtor-In-Possession in the above-referenced proceeding, moves the Court for expedited

relief and gives notice of hearing.

         2.   The Court will hold an expedited hearing on the Debtor's motion at 1:00 p.m.

on Wednesday, March 20, 2019, before the Honorable Kathleen H. Sanberg, in Courtroom

No. 8 West, United States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415,

or as soon thereafter as counsel can be heard.

         3.   Any response or objection to the expedited Motion shall be filed no later than

2 hours prior to 1:00 p.m. on March 20, 2019, which is the expedited hearing date and time.

UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED, THE COURT

MAY GRANT THE MOTION WITHOUT A HEARING.

         4.   This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§157 and

1334, Bankruptcy Rule 5005 and Local Rule 1070-1. This is a core proceeding. The case

is now pending in this Court, having been filed on March 8, 2019.




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       5.     The Debtor seeks an expedited hearing on its Motion to pay pre-petition

wages of the Debtor. It is necessary to have this matter heard on an expedited basis as it

the Debtor need to obtain court approval prior to its next pay date of March 31, 2019 and

the Court is not available to have this matter heard the last week in March.

       6.     The Debtor's pre-bankruptcy assets, including cash collateral, are subject to a

security interest and lien in favor of the Minnesota Department of Revenue.

       7.     The Debtor employs approximately 7 employees. All of Debtor’s employees

are owed pre-bankruptcy wages from March 1, 2019 to March 8, 2019. A list of employees

and the amounts owed is attached to this Motion and marked as Exhibit 1. Exhibit 1 is the

consists of the Debtor’s last payroll paid by the Debtor on February 28, 2019 and the

Debtor’s next payroll which will be on March 31, 2019. The Debtor’s next payroll will be

substantially the same as Exhibit 1. Exhibit 1 represents pre-bankruptcy wages owed to

the employees.    A review of the attached Exhibit reflects that no employee whom the

Debtor is seeking to pay will be paid an amount which would exceed the priority amount as

allowed in 11 U.S.C. §507(a)(4).

       8.     The Debtor’s payroll is paid monthly. The Debtor’s next payroll is Sunday,

March 31, 2019. The March 31, 2019 payroll covers wages from March 1, 2019 through

March 31, 2019. The first 8 days of this payroll consist of pre-petition wages. The balance

of the payroll is not pre-petition wages. Cause exists to allow the Debtor to pay the March

31, 2019 payroll. The Debtor will suffer irreversible and irreparable harm if it is not

authorized to pay pre-petition wages. If the wages are not paid, the Debtor’s employees

will leave and the Debtor will not be able to continue to operate its business.   It will be a



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hardship on the employees if they do not receive their paychecks.

       9.    Pursuant to applicable rules, the Debtor reserves the right to call Kunrath Lam

Chief Executive Officer of the Debtor in support of this motion.

       WHEREFORE, the Debtor, through its undersigned attorney, respectfully moves the

Court for an Order granting the Debtor's Motion for relief and granting the Debtor's Motion

authorizing it to pay pre-petition wages to the employees and for such other and further

relief as the Court may deem just and equitable.

Date: March 11, 2019.                            STEVEN B. NOSEK, P.A.

                                                 /e/       Steven       B.       Nosek
                                                 Steven B. Nosek, #79960
                                                 Yvonne R. Doose, #0397066
                                                 2855 Anthony Lane South, Suite 201
                                                 St. Anthony, MN 55418
                                                 (612) 335-9171
                                                 snosek@noseklawfirm.com
                                                 ydoose@noseklawfirm.com
                                                 ATTORNEYS FOR DEBTOR




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                                            PAYROLL REPORT FOR FEBRUARY 2019
                                      BV RESTAURANT, INC. DBA CHENG HENG RESTAURANT
February 2019 Payroll                                                                                          Check Date:  2/28/19      EXHIBIT 1
Employee Name            Gross Pay Rate/Hrs.     SSI            State Tax        Fed Tax          Net Pay      Period Start:  2/1/2019
Lam, Vanheng             $  1,000.00 100/10.00   $        76.50 $            ‐   $            ‐   $     923.50 Period End:  2/28/19
Keo, Sokunthea           $  1,000.00 100/10.00   $        76.50 $            ‐   $            ‐   $     923.50
Un, Sonitha              $     540.00 60/9.00    $        41.31 $            ‐   $            ‐   $     498.69
Duy, Dany                $     660.00 80/8.25    $        50.49 $            ‐   $            ‐   $     609.51
Nuon, Khean              $     900.00 120/7.50   $        68.85 $            ‐   $            ‐   $     831.15
Lam, Kevin               $  2,000.00             $     153.00 $            ‐     $            ‐   $  1,847.00
Lam, Kunrath             $  2,500.00             $     191.25 $            ‐     $            ‐   $  2,308.75
Total:                   $  8,600.00             $     657.90 $            ‐     $            ‐   $  7,942.10



                                             PAYROLL REPORT FOR MARCH 2019
                                      BV RESTAURANT, INC. DBA CHENG HENG RESTAURANT
March 2019 Payroll                                                                                             Check Date:  3/31/19
Employee Name            Gross Pay Rate/Hrs.     SSI            State Tax        Fed Tax          Net Pay      Period Start:  3/1/2019
Lam, Vanheng             $  1,000.00 100/10.00   $        76.50 $            ‐   $            ‐   $     923.50 Period End:  3/31/19
Keo, Sokunthea           $  1,000.00 100/10.00   $        76.50 $            ‐   $            ‐   $     923.50
Un, Sonitha              $     540.00 60/9.00    $        41.31 $            ‐   $            ‐   $     498.69
Duy, Dany                $     660.00 80/8.25    $        50.49 $            ‐   $            ‐   $     609.51
Nuon, Khean              $     900.00 120/7.50   $        68.85 $            ‐   $            ‐   $     831.15
Lam, Kevin               $  2,000.00             $     153.00 $            ‐     $            ‐   $  1,847.00
Lam, Kunrath             $  2,500.00             $     191.25 $            ‐     $            ‐   $  2,308.75
Total:                   $  8,600.00             $     657.90 $            ‐     $            ‐   $  7,942.10
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MINNESOTA
In Re:                                                                BKY No.: 19-30675
                                                                        Chapter 11 Case
BV Restaurant, Inc.
DBA Cheng Heng Restaurant,
Debtor.
                        MEMORANDUM OF LAW


         BV Restaurant, Inc. DBA Cheng Heng Restaurant (the “Debtor”) submits this

Memorandum of Law in support of its Motion for: (1) Expedited Hearing; and (2) an

Order Authorizing Payment of Pre-Petition Wages (the “Motion”).

                                  I. Statement of Facts
         The Debtor relies on the facts set forth in the Motion and incorporates the same

herein by this reference.

                            II. Statement of Law and Argument
                                  A. Expedited Hearing
         Bankruptcy Rule 9006(d) provides that a written motion and notice of any hearing

is to be served not later than five days before the time specified for such hearing. Local

Rule 9006-1(a) directs that moving papers be delivered not later than seven days,

including weekends and legal holidays, or mailed not later than ten days, before the

hearing date.

         Bankruptcy Rule 9006(c) provides that the Court, for cause shown, may order a

notice period reduced. Local Rule 9006-1(d) provides that if expedited relief is

necessary, the party requesting expedited hearing and shall take all reasonable steps to

provide all parties with the most expeditious service and notice possible and shall file an

affidavit specifying the efforts made.
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       Cause exists to grant the Debtor an expedited hearing on the Motion. As

indicated in the Motion, the Debtor’s bankruptcy estate would suffer immediate and

irreparable harm as a result of the loss of an effective staff. As a delay in the payment

of wage and benefit claims would result in increased risk of damage to employee

relations, expedited relief is warranted.

                   B. Payment of Pre-Petition Wages and Benefits

       Generally speaking, pre-petition claims against a Chapter 11 debtor may not be

paid except under a confirmed plan of reorganization. Although exceptions to this rule

are few, in the case of employee claims that are otherwise subject to priority treatment

courts have recognized the need for permitting the continuation of ordinary course

payments without regard to the bankruptcy filing to the extent necessary in maintaining

an effective work force.

       “The need to pay wages in an ordinary course time frame is simple common

sense. Employees are more likely to stay in place and to refrain from actions which

could be detrimental to the case and/or the estate if their pay and benefits remain intact

and uninterrupted.” In re Equalnet Communications Corp., 258 B.R. 368, 370 (Bankr.

S.D. Tex. 2000).

       Whether one looks to the general equitable powers of the Court as set forth in

Section 105(a), to the Bankruptcy Code provisions related to the use of property of the

estate as set forth in Section 363, or some intersection of the two, there is ample

authority to support the payment of pre-petition wage and benefit claims on the terms

set forth in the Motion.




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                                    III. Conclusion

      For the reasons set forth in the Motion and in this Memorandum, the Debtor

respectfully requests that the Court enter an order: (1) authorizing the payment of

wages; and (2) granting such further and additional relief as may be just and equitable.

                                                STEVEN B. NOSEK, P.A.


Dated: March 11, 2019.                             /e/ Steven B. Nosek
                                                Steven B. Nosek, (#79960)
                                                Yvonne R. Doose, (#397066)
                                                2855 Anthony Lane South, Suite 201
                                                St. Anthony, MN 55418
                                                Phone: (612) 335-9171
                                                Fax: (612) 789-2109
                                                snosek@noseklawfirm.com
                                                ydoose@noseklawfirm.com
                                                Attorneys for Debtor




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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA
   In Re:                                                                    BKY No.: 19-30675
                                                                               Chapter 11 Case
   BV Restaurant, Inc.
   DBA Cheng Heng Restaurant,
   Debtor.
   ______________________________________________________________________________
                                   CERTIFICATE OF SERVICE
   ______________________________________________________________________________
   I hereby certify that on March 11, 2019, I caused a copy of Notice of Expedited Hearing and
   Motion For Approval to Pay Pre-Petition Wages; Verification; Exhibit; Memorandum of
   Law; and Proposed Order to be filed electronically with the Clerk of Court through ECF, and
   that ECF will send an e-notice of the electronic filing to the following:

            US Trustee: ustpregion12.mn.ecf@usdoj.gov, ecfbkup@comcast.net
            Michael R. Fadlovich: Michael.fadlovich@usdoj.gov

   I further certify that I caused a copy of the Notice of Expedited Hearing and Motion for
   Approval to Pay Pre-Petition Wages; Verification; Exhibit; Memorandum of Law; and
   Proposed Order to be faxed and/or emailed to the following:

BV Restaurant, Inc.                Internal Revenue Service          MN Dept of Revenue
Attn: Kunrath Lam                  Centralized Insolvency Office     551 Bankruptcy Sections
448 University Avenue              PO Box 7346                       PO Box 64447
St. Paul MN 55103                  Philadelphia PA 19101-7346        St. Paul MN 55164
klamfamily@aol.com                 Fax: 1-855-235-6787               Mdor.bkysec@state.mn.us
IRS District Director              American Fish & Seafood Inc       Anderson Produce
Room 320 Stop 5700                 5501 Opportunity Court            2296 Terminal Road
30 7th Street E #1222              Minnetonka MN 55343               Roseville MN 55113
St. Paul MN 55101                  Fax: 952-935-7861                 Fax: 651-636-7621
No Fax or Email
ComCast                            Guardian Pest Solutions           Lincoln Trading Intl LLC
9602 S 300 West, Suite B           3131 Halvor Ln                    727 Vandalia St
Sandy UT 84070                     Superior WI 54880                 Saint Paul MN 55114
No Fax or Email                    Fax: 1-218-722-2286               Fax: 651-255-3039
Republic Services                  St. Paul Regional Water Svc       Sysco Asian Foods
4325 E 66th St                     1900 Rice Street                  1300 L'Orien St
Inver Grove Heights MN 55075       Saint Paul MN 55113-6810          Saint Paul MN 55117
No Fax or Email                    Waterinquiries@stpaul.gov         Fax: 651-489-5089
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XCel Energy                               Mawerdi Hamid
PO Box 9477                               Assistant Attorney General
Minneapolis MN 55484-9477                 Office of the MN Attorney General
Fax: 1-800-311-0050                       Suite 900
                                          445 Minnesota Street
                                          St. Paul MN 55101-2127
                                          Mawerdi.hamid@ag.state.mn.us

    Dated this 11th day of March, 2019.                 STEVEN B. NOSEK, P.A.
                                                        /e/ Steven B. Nosek
                                                        Steven B. Nosek, #79960
                                                        Yvonne R. Doose, #0397066
                                                        2855 Anthony Lane South, Suite 201
                                                        St. Anthony, MN 55418
                                                        (612) 335-9171
                                                        snosek@noseklawfirm.com
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MINNESOTA
In Re:                                                                BKY No.: 19-30675
                                                                        Chapter 11 Case
BV Restaurant, Inc.
DBA Cheng Heng Restaurant,
Debtor.
                                          ORDER

         The Motion of BV Restaurant, Inc. DBA Cheng Heng Restaurant (“Debtor”) for an
expedited hearing and for an Order granting approval to pay pre-petition wages came on
for hearing before the undersigned on the 20th day of March, 2019. Steven B. Nosek
appeared on behalf of the Debtor and all other appearances were noted.
         The Debtor is seeking an expedited hearing and is seeking an order for approval to
pay pre-petition wages.

         IT IS HEREBY ORDERED:

         1.    The Debtor’s Motion for expedited relief is GRANTED;

         2.    The Debtor's Motion to pay pre-petition wages is GRANTED; and

         3.    The Debtor will not pay any employee pre-petition wages or benefits greater
               than those amounts set forth in 11 U.S.C. §507(a)(4) and (5).



Dated:                                            ________________________________
                                                  Kathleen H. Sanberg
                                                  United States Bankruptcy Judge




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